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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-258V
                                   Filed: December 29, 2015
                                        UNPUBLISHED

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ROBERT RICHIE,                           *
                                         *
                     Petitioner,         *     Joint Stipulation on Damages;
                                         *     Hepatitis B;
                                         *     Brachial Plexus Neuropathy;
SECRETARY OF HEALTH                      *     Special Processing Unit (“SPU”);
AND HUMAN SERVICES,                      *     Attorneys’ Fees and Costs Decision
                                         *
                     Respondent.         *
                                         *
****************************
Sean Franks Greenwood, Greenwood Law Firm, Houston, TX, for petitioner.
Adriana Teitel, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

        On March 13, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 [the
“Vaccine Act”]. Petitioner alleges that he suffered brachial plexus neuropathy caused-
in-fact by his October 15, 2012 Hepatitis B vaccination. Petition at 1; Stipulation, filed
12/29/2015, ¶ 1-4. Petitioner further alleges that he experienced the residual effects of
the injury for more than six months and that there has been no prior award or settlement
of a civil action for damages as a result of his condition. Petition at 3; Stipulation¶¶ 4-5.
“Respondent denies that petitioner’s brachial plexus neuropathy and its residual effects
were caused-in-fact by the hepatitis B vaccine. Respondent further denies that the
hepatitis vaccine caused petitioner any other injury or his current condition. ” Stipulation,
¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on December 29, 2015, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

        The parties stipulated that petitioner shall receive the following compensation:

        A lump sum of $90,000.00 in the form of a check payable to petitioner.
        Stipulation, ¶ 8. This amount represents compensation for all items of damages
        that would be available under 42 U.S.C. § 300aa-15(a); and

        A lump sum of $6,590.00 in the form of a check payable to petitioner and
        petitioner’s attorney, for attorneys’ fees and costs available under 42 U.S.C. §
        300aa-15(e). Id.

       The Vaccine Act Permits an award of reasonable fees and costs. 42 U.S.C. §
300aa-15(e). I find the proposed amount of $6,590.00 to be reasonable. In compliance
with General Order #9, petitioner states that no out-of-pocket expenses were incurred
by petitioner in proceeding on the petition.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
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